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                                            ORDERED.

          Dated: July 13, 2018




                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION
                                        www.flmb.uscourts.gov


In re :                                                                      Case No. 6:17-bk-00351-CCJ
                                                                             Chapter 7
Lisandra Colon,
                       Debtor(s).
______________________________/


           ORDER GRANTING TRUSTEE’S MOTION TO APPROVE SALE OF ESTATE’S
               INTEREST IN REAL ESTATE IN OSCEOLA COUNTY, FLORIDA

           This case came before the Court on Trustee’s Motion for Order Approving Sale of Estate’s Interest
in Real Estate in Osceola County, Florida, dated June 18, 2018, (docket no. 40), The Bank of New York
Mellon’s Response and Limited Objection to the Trustee’s Motion to Sell, dated July 6, 2018, (docket no.
41), Trustee’s Notice of Filing Exhibit “A,” dated July 7, 2018, (docket no. 42), and The Bank of New York
Mellon’s Notice of Withdrawal of Limited Objection to Trustee’s Motion to Sell Property, dated July 12,
2018, (docket no. 43). Having reviewed the Motion, the Response, the Notices, the file, and being otherwise
apprised of the matter
           Accordingly, it is

1.   ORDERED that the Motion for Order Approving Sale of Estate’s Interest in Real Estate in Osceola
     County, Florida, is approved, and the Trustee is authorized to sell the estate’s interest in said property,
     as follows :

2.   The property to be sold is more particularly described as :
     Lot 11, RAINTREE AT SPRINGLAKE VILLAGE PHASE 1A, according to the plat or map
     thereof as recorded in Plat Book 18, Pages 157 through 164, inclusive, of the Public Records of
     Osceola County, Florida.
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    Parcel ID No. 022530256300010110
    a/k/a 3180 Dasha Palm Drive, Kissimmee, FL 34744

    3. The property shall be sold to the following buyer for the sales price indicated :

                                                                                 Sales Price
    Bibi Zahida Khan                                                             $ 215,000.00
    9296 Randal Park Blvd.
    Unit #21122
    Orlando, FL 32832

    4. The Trustee has represented that no closing costs are to be paid by the Estate and has obtained
short sale approval from the first mortgage holder who has authorized the following to be paid from the
sales price : normal closing costs, realtor fees and costs, sums necessary to satisfy an existing mortgage,
prorated 2018 real estate taxes, and bankruptcy estate carve out as described in the Motion.
    5. Trustee is authorized to transfer title to the property by Trustee’s Deed, conveying the interest
of the estate, subject to all encumbrances, including current taxes, assessments, zoning, restrictions,
and other requirements imposed by governmental authorities, restrictions and other matters appearing
on the plat or otherwise common to the subdivision and/or condominium, and public utility easements
of record.
    6. The Estate shall provide to buyer, a certified copy of the Order approving sale, certified copy of
Notice of Commencement and certified copy of docket, reflecting no objection to the sale, or if any,
that said objections have been overruled by Court Order.
    7. The 14-day stay pursuant to Rule 6004(h) is hereby waived.




Attorney Kristen L. Henkel is directed to serve a copy of this Order on interested parties who are non-
CM/ECF users and file a proof of service within 3 days of entry of the Order.




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